






















IN THE COURT OF CRIMINAL APPEALS
OF TEXAS



NOS. AP-76,388, AP-76,389, AP-76,390 &amp; AP-76,391




EX PARTE RAUL DAVID JACKSON, Applicant




ON APPLICATIONS FOR WRITS OF HABEAS CORPUS
CAUSE NOS. F06-00445-TK, F06-00448-TK, F-06-00450-TK, &amp; F06-00453-TK 
IN CRIMINAL DISTRICT COURT NO. 4
FROM DALLAS COUNTY




&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per curiam.

O P I N I O N

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court these applications for writs of habeas corpus.  Ex
parte Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of possession
with intent to deliver a controlled substance, and three charges of delivery of a controlled substance.
He was sentenced in the four cases to forty-five, twenty-five, thirty, and thirty-five years’
imprisonment, respectively. His pro-se appeals were dismissed for lack of jurisdiction. Jackson v.
State, Nos. 05-07-00472-CR, 05-07-00473-CR, 05-07-00474-CR, &amp; 05-07-00475-CR (Tex.
App.–Dallas May 9, 2007) (not designated for publication). 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Applicant contends that his counsel rendered ineffective assistance because he failed to
timely file notices of appeal. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The trial court has determined that trial counsel failed to timely file notices of appeal.  The
record supports this conclusion. We find, therefore, that Applicant is entitled to the opportunity to
file out-of-time appeals of the judgments of conviction in Cause Nos. F06-00445-TK, F06-00448-TK, F-06-00450-TK, and F06-00453-TK,  from Criminal District Court No. 4 of Dallas  County. 
Applicant is ordered returned to that time at which he may give written notices of appeal so that he
may then, with the aid of counsel, obtain meaningful appeals in these cases.  All time limits shall be
calculated as if the sentences had been imposed on the date on which the mandate of this Court
issues.  We hold that, should Applicant desire to prosecute direct appeals of these convictions, he
must take affirmative steps to file written notices of appeal in the trial court within 30 days after the
mandate of this Court issues.
&nbsp;
Delivered: August 25, 2010
Do Not Publish


